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8                                 UNITED STATES DISTRICT COURT
9                               CENTRAL DISTRICT OF CALIFORNIA
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11    RICKY RAY PERRY,                          )   No. EDCV 20-2244-GW (AGR)
                                                )
12                       Petitioner,            )
                                                )   JUDGMENT
13                 v.                           )
                                                )
14    WARDEN,                                   )
                                                )
15                       Respondent.            )
                                                )
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            Pursuant to the Order Accepting Findings and Recommendations of United
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      States Magistrate Judge
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            IT IS ADJUDGED that Respondent’s motion to dismiss is granted and Petitioner’s
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      motion to amend is denied as futile. The action is dismissed for lack of jurisdiction.
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      DATED: October 5, 2021
24                                                               GEORGE H. WU
                                                              United States District Judge
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